Case 3:12-CV-00128-RBD-.]BT Document 2 Filed 02/06/12 Page 1 of 5 Page|D 279
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l'N THE CIRCU|T COUR'I`, SEVENTH
IUDICIAL CIRCUIT, IN AND FOR
ST. JOI-I'NS COUNTY, FLOR.IDA

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DIV]SION: 55
WELI.ESTEY D. MADUREE, JR. and

CHRISTlNE MADURIE, husband and wife, 3 g _,C V, )}3 _ j ' 37 j,;>__

Plaintil`fs,
vs.

HEARH.AND EXPRESS. 1NC.'0F ioWA.
a foreign corporation authorized to do
business in the State of l"lorida`

Defendant.
COM`PLAIN'I`
The Plaintif`f`s. WELLESTEY D. MA.DURIE` JR. and CHRISTINE MADURIE`
husband and wife, sue the Defendant, HEARTLAND EXPRESS, INC. OF lOWA, a foreign

corporation, and allege:

COMMON ALLEGATIONS
l. This is an action for damages exceeding $15,000.00 exclusive of fccs, costs,
and interest
2. At material times. the PlaintiH`s resided in C|ewiston. Florida. At the time of

this motor vehicle accident, Lhc Plaintiff`s, both commercial truck drivers, were refueling ala
fuel station in St. .Iohns County, Florida. Wcllestey Madurie was the driver and Christine
Madurie was the passenger of the truck tractor owned by them.

3. Al all material times, the Plaintiffs were and are married to one another.

4. 'I`he Defendant, HEART]_.A.ND EXPRESS, U\lC. OF IOWA was and is an lowa
corporation having its principal place of business in North Liberty, lowa

5. At all times relevant the Defendant was and is a nonresidcnt foreign

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Case 3:12-CV-00128-RBD-.]BT Document 2 Filed 02/06/12 Page 2 of 5 Page|D 280
12/09/2000 08:19 Fax ' + StFETv @004/007

l corporation that accepted the privilege extended by the laws of F lorida by operating a business
or business venture in the state and by operating a motor vehicle or of having it operated within
the state. The Defenda.nt may be served with process by service in accordance with Florida

Statute. Section 48.171_. 48 .l 81 or other applicable law.

 

6. At all material times, the Defendant was engaged in substantial and not isolated
commercial activity within the state of Florida_ Moreover, at the time of the motor vehicle
accident the Defendant was operating conducting engaging in or carrying on business in the
state of Florida. 'l`he non-resident Defcndant committed a tortious act within this state. For all
of these reasons, it is appropriate for this Court to exercise personal jurisdiction over the
: Dcfcndant pursuant to Scction 48.193. Fia. Stat.

7. At all material times including, lime 23, 2008, the Defendant owned a 2006
lntemational commercial truck tractor bearing VIN 2HSCNAPR76C2] 67, which was operated
by the Defendant.

8. At all material timcs, including .lune 23, 2008. the Defendam owned a 2007

tandem semi-trailcr bearing V[N lJ .TV 532 WX7L990486, which was operated by the Defendant

 

9. At the time of the accident, the Defendant’s employee and agent Michael S.
Taylor operated the tractor-trailer with the knowledge, consent and express permission of the
Defendant. ln all respects, Mr. Taylor’s operation of the Defendant’ s tractor-trailer was within
the ordinary scope of his duties as Det`endant’s agent and in t`urtherance of the Defeodant's
interests

10. On or about lime 23, 2008, Michacl S. Taylor negligently operated the
Defendant‘s tractor-trailer in the parking lot of the Flying J fuel station on S.R. 206 in SL

.Iolms County. Florida in such a manner that the Defenda.nt‘s tractor-trailer collided with the

 

 

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Case 3:12-CV-00128-RBD-.]BT Document 2 Filed 02/06/12 Page 3 of 5 Page|D 281
12/09/2000 08:19 FAx a sAFETv 1005/007

truck tractor owned and operated by the Plaintift`s.

l 1. As a result of the employment and agency relationship existing between the
Defendant and its authorized agent and employee Michael S. Taylor. the Dcfendant is
vicariously liable for the injuries and damages suffered by the Plaintiffs.

12. Morcover, as the owner of the commercial vehicle causing the accident, the

Defendant is vicariously liable for the negligent operation or maintenance of the vehicle by the

 

driver and agent as a matter of law.

COUNT l - Negligeoce
(For injuries suffered by Wellestey Madurie)

13. The Plaintiffs reallege the facts set forth in paragraphs l through 12 above.

14. At all material times the Defendant voluntarily entrusted its vehicle to Michael
S. 'l`aylor. whose negligent operation thereof caused injuries to the Plaintiif, Wellestey
Madurie.

15. As a direct result of the Dei`endant’s, entrustment of its vehicle to Michael S.
'l`aylor. the Plaintif`f. Wellestey Madurie, suffered bodily injury and resulting pain and
sulTering, disability, distigurement, mental anguish, loss of capacity for the enjoyment oflife,

expense of hospitalization_. medical and nursing case and treatment permanent impairment

 

loss of earnings and loss of ability to earn. The losses are either permanent or condoning and
. Wellestey Madurie will suffer the losses in the future Plaintiffs’ tractor truck was also

damaged and the Plaintiff`s lost the use of it during the period required for its repair or

 

' replacement
WHEREFO RE, the Plaintiff, WELLES'|‘EY MA.DUR.IE, demands judgment against
the Dcfendant, HEARTLAND EX.`PR.ESS, l`NC. OF IOWA, for damages, costs, and for such

other relief as this Court deems appropriate in the circumstances "

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Case 3:12-CV-00128-RBD-.]BT Document 2 Filed 02/06/12 Page 4 of 5 Page|D 282
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COUNT II - Ncgligence
(For injuries suffered by Christine Maduric)

16. The Plaintiffs reallege the facts set forth in paragraphs l through 12 abovc.

17. At aU material times the Dcfendant voluntarily entrusted its vehicle to Michael

S. 'I`aylor, whose negligent operation thereof caused injuries to the Plaintiff, Christine Madurie.

18. As a direct result of the l)efendant`s, entrustment of its vehicle to Michael S.

Taylor. the Plaintiff, Christinc Madurie, suH`ered bodily injury and resulting pain and suffering

disability, disfigurement mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing case and treatment, permanent impairment lOSS Oi`
| earnings and loss of ability to earn. The losses are either permanent or continuing and
Wellestey Madurie will suffer the losses in the futurc. Plaintii"fs’ tractor truck was also
damaged and the Plaintiffs lost the use of it during the period required for its repair or
replacement

WHEREFORE, the Plaintiff, CI-iRlSTlNE MADUR.[E,, demands judgment against

 

the Defendant, HEARTLAND EXPRESS, INC. O]-` IOWA, for damages, costs` and for
such other relief as this Court deems appropriate in the circumstances

COUNT HI - Loss of Consort'ium
(On behalf of Christine Madurie)

19. The Plaintiff, CHRlSTINE MADURIE, realleges the facts set forth in
paragraphs l through 12.

20. At all times material to this cause of action, the Plaintit`f, Cl~lRlSTINE
MADURlE was and is the wife of the Plai.ntiff, Wellestey Madu.rie. As a direct and proximate
result of the injuries received by Wellestey Madurie flowing from the negligence of the

Defcndant, the l"‘laintifl", Christine Madurie, lost the care, companionsltip, society, comfort and

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Case 3:12-CV-00128-RBD-.]BT Document 2 Filed 02/06/12 Page 5 of 5 Page|D 283

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services of her husband in the past, presently and will so in the niture.
WHER.EFORE, Plaintiff, CHRISTINE MADURLE, demands judgment against
Defendant together with an award of costs.

COUNT IV - Loss of Consortium
(On behalf ofWellestey Mndurie)

21 . The Plaintiti`, WELLESTEY MADURIE, reelleges the facts set forth in
paragraphs l through 12.

22. At all times material to this cause of action` the Plaintiti`, Wellestey Madurie
was and is the husband of the Plaintiff. Chrisu`ne Madun'e. As a direct and proximate result of
the injuries received by Christ.ine Madurie flowing ii'orn the negligence of the Defendant, the
Plaintiff, Wellestey Madun'e, lost the care, eompan.ionship, society,~comfort and services of his
wife in the past. presently and will so in the future

WHERE.FORE, Plaintiff, WELLESTEY MADURIE, demands judgment against
Defendant together with an award of costs.

Demaod for Jury Trial

The Plaintiffs demand trial by jury on all issues so triable as of right.

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